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IN THE UNITED STATES DISTRICT CO T
FCR THE NORTHE'RN DISTRICT OF TE S AUG _ 9 2018
DALLAS DIVISION
§ ~ M fe § cLE;§g ws:“f:i:'r COURT
UNITED STATES OF AMERJCA 0 R l 61 § ,»§ § »_ -By "
V. NO. ..
ROBERTCARLLEONARD,JR. 3°180 3-41 0 "M
§LMRM

Robert Carl Leonard, Jr., the defendant, Christopher W. Lewis, the defendant’s
attomey, and the United States of America (the government) agree as follows:

1. Rights of the defendant The defendant understands that the defendant
has the rights:

a. to have his case presented to a federal grand jury;
b. to plead not guilty;
c. to have a trial byjury;

d. to have the defendant’s guilt proven beyond a reasonable doubt;

e. to confront and cross-examine witnesses and to call Witnesses in the
defendant’s defense; and
f. against compelled self-incrimination

2. Waiver of rights and plea of guilty: The defendant Waives these rights
and pleads guilty to the offense alleged in Count One of the Information, charging a
Violation of 18 U.S.C. § 1349, that is, conspiracy to commit honest services wire fraud

The defendant understands the nature and elements of the crime to which the defendant is

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pleading guilty, and agrees that the factual resume the defendant has signed is true and

will be submitted as evidence
3. Sentence: The maximum penalties the Court can impose include:
a. imprisonment for a period not to exceed twenty years;

b. a fine not to exceed $250,000, or twice any pecuniary gain to the
defendant or loss to the victim(s);

c. a term of supervised release of not more than three years, which will
follow any term of imprisonment If the defendant violates the
conditions of supervised release, the defendant could be imprisoned
for the entire term of supervised release;

d. a mandatory special assessment of 4$100;

e. restitution to Victims or to the community, Which is mandatory under
the law, and which the defendant agrees may include restitution
arising from all relevant conduct, not limited to that arising from the
offense of conviction alone; '

f . costs of incarceration and supervision; and
g. forfeiture of property
4. Sentencing agreement Pursuant to Federal Rule of Crirninal Procedure
ll(c)(l)(C), the parties agree that the appropriate term of imprisonment in this case is one
that does not exceed ten years or 120 months’ imprisonment Ifthe Court accepts this
plea agreement, this sentencing provision is binding on the Court. Other than the agreed
maximum term of imprisonment, there are no other sentencing lirnitations, and the Court

remains free to determine the appropriate sentence under the advisory United States

Sentencing Guidelines and 18 U.S.C. § 3553.

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5. Rejection of agreement Pursuant to F ederal Rule of Criminal l’rocedure
ll(c)(5), if the Court rejects this plea agreement, the defendant will be allowed to
withdraw the defendant’s guilty plea. If the defendant declines to withdraw the
defendant’s guilty plea, the disposition of the case may be less favorable than that
contemplated by the plea agreement ' n

6. Mandatory special assessment Prior to sentencing, the defendant agrees
to pay to the U.S. District Clerk the amount of $100 in satisfaction of the mandatory
special assessment in this case. l

7. ]_)efendant’s agreement The defendant shall give complete and truthful
information and/or testimony concerning the defendant’s participation in the offense of
conviction Upon demand, the defendant shall submit a personal financial statement
under oath and submit to interviews by the government and the U.S. frobation Office
regarding the defendant’s capacity to satisfy any lines or restitution The defendant
expressly authorizes the United States Attorney’s Office to immediately obtain a credit
report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including a restitution order and/or the implementation

of a fine, is due and payable immediately ln the event the Court imposes a schedule for '

payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney’s Ofiice from pursuing any t

other means by which to satisfy the defendant’s full and immediately enforceable

financial obligation The defendant understands that the defendant has a continuing

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obligation to pay in full as soon as possible any financial obligation imposed by the

Court.

8.

Fo'rfeiture of property: The defendant agrees not to contest, challenge, or `

appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United

States of any property noted as subject to forfeiture pursuant to the plea of guilty,

specincauy the ferreicure of the following

2008 Bentley Continental GT, Vehicle Identification Number
SCBDR33W5 8C057347, titled to Noella, LLC;

2012 Jcep Grand Cherokee, Vehicle Identiflcation Number
lC4R.lECTOCC3 63070, titled to Force Multiplier, LLC;

$109.39 in United States currency seized from the account ending in x0851
on Iune 15, 2017;

$29,449.64 in United States currency seized from the account ending in
x3128 on June 15, 2017; '

3150,770.90 in United States currency seized from the account ending in
x9508 on June 15, 2017; ' ` .

$557,273.60 in United States currency seized from the account ending in
x2057 on June 15, 2017;

$564.00 in United States currency seized from the account ending in X8321
on June 15, 2017; _ .

Collection of seven paintings by artist David Harouni seized on June 15,
2017 ; v

Assorted Jewelry seized on June 15, 2017: One ring, white metalwith
white stones; Four Infinity rings, white metal and yellow metal, located in
“Rothschild Diamond” box; One ring, yellow and white metal With white
stones in a “Bachendorf’ s” box; and One floral necklace, white metal with
white stones in a “Bachendorf’s_ box. '

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The defendant agrees that this property is subject to forfeiture under 18 U.S.C. §
981(a)(1)(C) & 28 U.S.C. 2461(c). The defendant consents to entry of any orders or
declarations of forfeiture regarding such property and waives any requirements (including
notice of forfeiture) set out in 19 U.S.C., §§ 1607-1609; 18 U.S.C. §§ 981, 983, and 985;
the Code of Federal Regulations; and Rules ll and 32.2 of the Federal Rules of Criminal
Procedure. The defendant agrees to provide truthful information and evidence necessary
for the government to forfeit such property. The defendant agrees to hold the
government, its officers, agents, and employees harmless from any claim whatsoever in
connection with the seizure, forfeiture, storage, or disposal of such property.

9. Government’s agreement The government will not bring any additional `
charges against the defendant based upon the conduct underlying and related to the
defendant’s plea of guilty. The government will file a Supplement in this case, as is
routinely done in every case, even though there may or may not be any additional terms.
This agreement is limited to the United States Attorney’s Oftice for the Northern Disti‘ict
of Texas and does not bind any other federal, state, or local prosecuting authorities, nor
does it prohibit any civil or administrative proceeding against the defendant or any b
property. `

10. d Violati_on of agreementi The defendant understands that if the defendant
violates any provision of this agreement, or if the defendant’s guilty plea is vacated or
Withdrawn, they government will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge In such event, the

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defendant waives any objections based upon delay in prosecution If the plea is vacated
or withdrawn for any reason other than a finding that it was involuntary, the defendant
also waives objection to the use against the defendant of any information or. statements
the defendant has provided to the government, and any resulting leads.

11. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement There have been no guarantees or promises from anyone as to what sentence
the Court will impose

12.' Waiver of right to appeal or otherwise challenge sentence: |The
defendant waives the defendant’s rights, conferred by 28 U.S.C. § 1291 and 18 ll.S.C. §
3;742, to appeal the conviction, sentence,‘ line and order of restitution or forfeiture in an

amount to b`e determined by the district court. The defendant further waives the

defendant’s right to contest the conviction, sentence, fine and order of restitution or

forfeiture in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and '

28 U.S.C. § 2255. The defendant further waives the defendant’s right to seek any future
reduction in the defendant’s sentence (e.~g., based on a change in sentencing guidelines or
statutory law). The dcfendant, however, reserves the rights (a) to bring a direct appeal of
(i) a sentence exceeding the statutoryl maximum punishment, or (ii) an arithmetic error at
sentencing, (b) to challenge the voluntariness of the 'defendant’s plea of guilty or this
waiver, and (c) to bring a claim of ineffective assistance of counsel.

13. Representation of counsel: The defendant has thoroughly reviewed all

legal and factual aspects of this case with the defendant’s attorney and is fully satisfied

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with that attorney-’s legal representation The defendant has received from the
defendant’s attorney explanations satisfactory to the defendant concerning each
paragraph of this plea agreement each of the defendant’s rights affected by this
agreement, and the alternatives available to the defendant other than entering into this
agreement Because the defendant concedes that the defendant is guilty, and after
conferring with the defendant’s attorney, the defendant has concluded that it is in the
defendant’s best interest to enter into this plea agreement and all its terms, rather than to
proceed to trial in this case,

14. Entirety of agreement This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and
signed by all parties This agreement supersedes any and all other promises,
representations, understandings, and agreements that are or were made between the
parties at any time before the guilty plea is entered in court. No promises or
representations have been made by the United States except as set forth in writing in this
plea agreement v

AGREED To AND sIGNED this 12 day of f M , 20_[,?\

ERIN NEALY COX
UNITED STATE ATTORNEY

  
 
 

 

. WIRMANI
t United States Attorney
as Bar No. 24052287

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1100 Commeree Street, Third Floor
Dallas, Texas 75242-1699

Tel: (214) 659~8600

Fax: (214) 659-8809

Email: andrew.wirmani@usdoj.gov

   
  

  
 

S VE FA
Criminal Chief

I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it§

0 ¢,/M// 4a

l am the defendant’s attorney. I have carefully reviewed every part of this plea
' agreement with the defendant To my knowledge and belief, my client’s decision to enter
's plea agreement is an inf ed and voluntary one.

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/V ¢//?/7"/@
CHRIST RW. LE 's ' pace l l
Attorney rDefendant

 
 

 

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